Case 8:05-cr-00123-MSS-MAP Document 92 Filed 08/26/05 Page 1 of 6 PageID 212
Case 8:05-cr-00123-MSS-MAP Document 92 Filed 08/26/05 Page 2 of 6 PageID 213
Case 8:05-cr-00123-MSS-MAP Document 92 Filed 08/26/05 Page 3 of 6 PageID 214
Case 8:05-cr-00123-MSS-MAP Document 92 Filed 08/26/05 Page 4 of 6 PageID 215
Case 8:05-cr-00123-MSS-MAP Document 92 Filed 08/26/05 Page 5 of 6 PageID 216
Case 8:05-cr-00123-MSS-MAP Document 92 Filed 08/26/05 Page 6 of 6 PageID 217
